                  United State Bankruptcy Court
                   Northern D strict of Alabama
                         South rn Division

 In re: Lawanda M Freeman                 )        Chapter 13 Case Number:
     SS# XXX-XX-1659                      )          22-00619-DSC13
       Debtor                             )


                           OBJECT ON TO CLAIM

 Claim No.          Claimant              Amount        S ecific Basis For Ob'ection


    2        L VNV Funding, LLC               $203.77   This claim is barred by Statute
             Resurgent Capital Services                 of Limitations Sec. 6-2-37 Code
             PO Box 10587                               of Alabama ­ on an open or
             Greenville, SC 29603-0587                  unliquidated account.




     WHEREFORE, debtor requests tha after notice and hearing said claim be disallowed
     and reduced to zero.



                                          ISlMichael J Antonio, Jr.
                                          Michael J Antonio, Jr.
                                          Attorney-at-Law
                                          1004 - 50tb Street, North
                                          Birmingham, Alabama 35212
                                          Phone: (205) 323 - 0011




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                                                 TE OF SERVICE

         I hereby certify that I have served a co of the above and foregoing motion upon all parties of
 interest and the Chapter 13 trustee by electro ic or first class US mail postage prepaid and properly
 addressed on this the ::l7r:1t day of            /) e.                2022.


                                                                        /S/MICHAEL J ANTONIO. JR.
                                                                        OF COUNSEL




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Label Matrix for local noticing      Healthcare Author ty for Medical Nest         U. S. Bankruptcy Court
1126-2                               Comer &Upshaw,                                Robert S. Vance Federal Building
Case 22-00619-DSC13                  5184 Caldwell Mil Road                        1800 5th Avenue North
NORTHERN DISTRICT OF ALABAMA         Ste. 204 '287                                 Birmingham, AL 35203-2111
Birmingham                           Birmingham, AL 35 44-1913
Mon Jun 27 13:03:13 CDT 2022
AcceptanceNON                        Affirm, Inc.                                  Ashley Funding Services, LLC
Attn: Bankruptcy                     Attn: Bankruptcy                              Resurgent Capital Services
5501 Headquarters Drive              30 Isabella St, F oor 4                       PO Box 10587
Plano, TX 75024-5837                 Pittsburgh, PA 1 12-5862                      Greenville, SC 29603-05S1


Bank of Mo/fa                        Bk Of Mo/tv                                   Comenity Bank/Overstock
Attn: Bankruptcy                     attn: Bankruptc                               Attn: Bankruptcy
tiOi.jox 85710                       PO Box 85710                                  Po Box 182125
Sioux Falls, SO 5711S-5710           Sioux Falls, SO 118-5710                      Columbus, OR 43218-2125


Q~nity Bank/Victoria Secret          Conn Appliances, Inc.                         Conn's HomePlus
Attll: Bankruptcy                    c/o Becket and L LLP                          2445 Technology Forest Boulevard
Po:110x 182125                       PO Box 3002                                   Building 41 Suite SOO
Cpl~us, 08 43218-2125                Malvern PA 19355 0702                         The Noodlands, TX 77381-5263


 (p)CONTINENTAL FINANCE COMPANY      Credit One Bank                               Fair Square Financial LLC
PO BOX 3220                          Attn: Bankruptcy Department                   Resurgent Capital Services
SUFFALO NY 14240-3220                Po Box 98873                                  PO Box 10368
"tn                                  Las Vegas, NY 89 93-8873                      Greenville, SC 29603-0368


Fingerhut                            First Premier B                               Flagstar Bank
~~t~: Bankruptcy                     Attn: Bankruptcy                              5151 Corporate Drive
6~~O Ridgewood Road                  Po Box 5524                                   Troy, MI 48098-2639
salpt Cloud, MN 56303-0820
   j
                                     Sioux Falls, SO 1117-5524
  y\




Flagstar Bank                        Fortiva                                       Genesis Credit/Celtic Bank
PO Box 660263                        Attn: Bankrupt                                Attn: Bankruptcy
D~llas, TX 75266-0263                Po Box 105555                                 Po Box 4417
                                     Atlanta, GA 303 -5555                         Beaverton, OR 97076-4401


Genesis FS Card                      Genesis FS Card ervices                       Genesis FS Card/Kay Jewelers
Att~: Bankruptcy                     Attn: Bankrupt                                Attn: Bankruptcy
l?oJox 4477                          Po Box 4477                                   P.O. Box 4477
B~verton, OR 97076-4401              Beaverton, OR 9 076-4401                      Beaverton, OR 97076-4401


LVNV Funding, LLC                    LVNV Funding,    c/o Resurgent Capital Serv   (p)DSNB MACY S
Resurgent Capital Services           PO Box 10587                                  CITIBANK
PO Box 10587                         Greenville, SC 9603-0587                      1000 TECHNOLOGY DRIVE MS 177
Greenville, SC 29603-0587                                                          OFALLON MO 63368-2222


Medical Nest                         Midland Credit     gement, Inc.               (p)MISSION LANE LLC
%Comer , upshaw, LLP                 PO Box 2037                                   PO BOX 105286
Slal Caldwell Mill Road              Warren, HI 4809 -2037                         ATLANTA GA 30348-5286
Suite
 . t
      204 1287
B~rmingham, AL 35244-1913




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0110 card Services                                   (p)PORTFOLIO REC RY ASSOCIArES LLC                   Premier Bankcard, LLC
Attn: Bankruptcy                                    PO BOX 41067                                          Jefferson Capital Systems LtC Assignee
Po Box 9222                                         NORFOLK VA 23541­ 067                                 Po Box 7999
Old'Bethpage, NY 11804-9222                                                                               Saint Cloud MN 56302-7999


Quantum3 Group LLC as agent for                     Quantum3 Group    as agent for                        Quantum3 Group LLC as agent for
Comenity Bank                                       Comenity Capital ank                                  Genesis FS Card Services Inc
PO Box 788                                          PO Box 788                                            PO Box 788
Kirkland, WA 98083-0788                             Kirkland, WA 98 3-0788                                Kirkland, WA 98083-0788


Quantum3 Group LtC as agent for                     Syncb/Rooms To G                                     Syncb/google
Katapult Group LLC                                  Attn: Bankruptcy                                     Attn: Bankruptcy
P9,Box 788                                          Po Box 965060                                        Po Box 965060
Kir~land, WA 98083-0788                             Orlando, FL 3289 -5060                               Orlando, FL 32896-5060


Syncb/zulily                                        Synchrony Bank                                       Synchrony Bank/Amazon
Attn: Bankruptcy                                    c/o PRA Receivab es Management, LLC                  Attn: Bankruptcy
Po'kox 965060                                       PO Box 41021                                         Po Box 965060
Ori~do,
 ( t'
         FL 32896-5060                              Norfolk VA 23541 1021                                Orlando, FL 32896-5060


Synchrony Bank/JCPenney                             Synchrony Bank/L wes                                 Synchrony Bank/Sams
~tF~: Bankruptcy                                    Attn: Bankruptc                                      Attn: Bnakruptcy
p,o llox 965060                                     Po Box 965060                                        Po Box 965060
C~l~ndo, FL 32896-5060                              Orlando, FL 3289 -5060                               Orlando, FL 32896-5060
   !




Synchrony/Ashley Furniture Homestore                Synchrony/HSN                                         TO Bank USA, N.A.
Attn: Bankruptcy                                    Attn: Bankruptc                                       C 0 WEINSrEIN &RILEY, PS
Po Box 965060                                       Po Box 965060                                         2001 WESrERN AVENUE, SrE 400
O~l~ndo, FL 32896-5060                              Orlando, FL 328 -5060                                 SEATTLE, IA 98121-3132


THE BANK OF MISSOURI                                (p l 'l'MX FINANCE FORM&RLY TITLEMAX                  Total Visa/The Bank of Missouri
2700 S LORRAINE PL                                  15 BULL STREET                                        Attn: Bankruptcy
SIOUX FALLS, SD 57106-3657                          SUITE 200                                             Po Box 85710
                                                    SAVlNNAB GA 314 1-2686                                Sioux Falls, SD 57118-5710


(p) UPLIFT INC                                      (p)CHAPTER 13 S ANDING TRUSTEE                        Lawanda MFreeman
5190 NEIL ROAD SUITE 210                            ATTN BRADFORD WCARAWAY                                4475 Flagstone Lane
aEkb
 ,\;c
      NY 89502-6509                                 PO BOX 10848                                          Pinson, AL 35126-3700
                                                    BIRMINGHAM AL 3 202-0848


Michael J Antonio Jr
Greystone Legal Clinic
2516 - 11th Avenue North
Birmingham, AL 35234-3108




                  The preferred mailing address (p) above has been ubstituted for the following entity/entities as so specified
                  by said entity/entities in a Notice of Address f' ed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g) (4).




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Continental Finance Company        (d) Continental F~ance Company       Macys/fdsb
Attn: Bankruptcy                   Attn: Bankruptcy                     Attn: Bankruptcy
                                   Po Box 8099       ;                  9111 Duke Boulevard
Po Box 3220
                                   Newark, DE 197141                    Mason, OH 45040
Buffalo, NY 14240


                                   Portfolio Recoveir Associates, LLC   Title Max
Mission Lane LLC
                                   POB 41067                            2380 Center Point Parkway
Attn: Bankruptcy
                                   Norfolk VA 23541 ;                   Birmingham, At 35215
P.O. Box 105286
Atlanta, GA 30348


                                   Bradford W. Cara ay                  End of Label Matrix
Uplift, Inc.
                                   Chapter 13 Stan ng Trustee           Mailable recipients    54
A~t~: Bankruptcy
                                   POBox 10848                          Bypassed recipients     0
SOl E1 Camino Real
                                   Birmingham, At 3202-0848             Total                  54
Menlo Park; CA 94025
 ; !




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